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                            IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )      CRIMINAL NO. 21-CR-223 (APM)
                                            )
                                            )
MATTHEW MARK WOOD                           )

                                       NOTICE OF FILING

       Kira Anne West, representing Mr. Matthew Mark Wood , hereby files this notice of filing of

a statement of facts supporting the plea to the indictment in the above case.

                                            Respectfully submitted,

                                            KIRA ANNE WEST

                                     By:            /s/
                                            Kira Anne West
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                                   CERTIFICATE OF SERVICE

       I hereby certify on the 26th day of May, 2022 a copy of same was electronically filed

using the CM/ECF system and thus delivered to the parties of record and pursuant to the rules

of the Clerk of Court.

                                                      /S/
                                                   Kira Anne West
